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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           PINE BLUFF DIVISION

DEMARCUS COLEY                                                              PLAINTIFF

v.                           Case No. 5:19-cv-00340 BSM

DELECUS ETHERLY                                                           DEFENDANT
                                        ORDER

      Demarcus Coley has not complied with the April 24, 2020 order [Doc. No. 20]

directing him to update his address, and the time to do so has expired. His mail continues

to be returned as undeliverable. Accordingly, this case is dismissed without prejudice for

failure to prosecute. See Local Rule 5.5(c)(2). An in forma pauperis appeal would not be

taken in good faith. See 28 U.S.C. § 1915(a)(3).

      IT IS SO ORDERED this 29th day of May, 2020.


                                                   UNITED STATES DISTRICT JUDGE
